774 F.2d 1164
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.United States of America, Plaintiff-Appellee,v.Gloyd Tyrone Singer, Defendant-Appellant.
    No. 85-1017
    United States Court of Appeals, Sixth Circuit.
    9/26/85
    
      E.D.Mich.
      AFFIRMED
      ORDER
      BEFORE:  ENGEL and KRUPANSKY, Circuit Judges; and PECK, Senior Circuit Judge.
    
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      2
      It is ORDERED that the judgment of the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    